
In re Disciplinary Counsel; Larre, Frank J.; — Other(s); Applying for Joint Petition for Consent Discipline.
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
Respondent and the Office of Disciplinary Counsel (“ODC”) submitted a joint petition for consent discipline in which respondent acknowledges that he practiced law while ineligible to do so. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Frank J. Larré, Louisiana Bar Roll number 8049, be suspended from the practice of law for a period of one year and one day, with all but ninety days deferred, followed by a two-year period of unsupervised probation governed by the terms and conditions set forth in the Petition for Consent Discipline. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred portion of the suspension execu-tory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
